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                                                          U.S. Department of Justice
                                                          United States Attorney
                                                          District of Maryland

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                                                          August 6, 2020

The Honorable Stephanie A. Gallagher
United States District Judge
United States Courthouse
101 W. Lombard Street
Baltimore, Maryland 21201

           Re         United States v. Damien Smith
                      Crim. No. SAG-20-047

Dear Judge Gallagher:

       We are writing in advance of the sentencing in the above-captioned case, currently
scheduled for August 13, 2020. Mr. Damien Smith (the “Defendant”) has requested that his
sentencing occur immediately following his guilty plea. The Government does not object to
proceeding in that manner. The Government respectfully recommends, and the parties agree, that
the Court impose a 66-month (five and a half year) prison sentence for the Defendant.

                                               Introduction

        On February 5, 2020, a Grand Jury in the District of Maryland issued an indictment
charging the Defendant with Felon in Possession of a Firearm, in violation of 18 U.S.C. §
922(g)(1); Possession with Intent to Distribute a Controlled Substance, in violation of 21 U.S.C. §
841(a); and Possession of a Firearm in Furtherance of a Drug Trafficking Crime, in violation of
18 U.S.C. § 924(c). On or about July 2, 2020, the Defendant agreed to plead guilty to Count One
of the indictment, Felon in Possession of a Firearm. The Defendant’s plea is pursuant to a written
plea agreement. The terms of the agreement, entered into pursuant to Federal Rule of Criminal
Procedure 11(c)(1)(C), included an agreement between the parties that a sentence of 66 months of
incarceration is the appropriate disposition of the case. For the reasons discussed below, the
Government recommends a sentence of 66 months’ imprisonment for the count of conviction
under 18 U.S.C. § 922(g). The Government reserves the right to supplement this memorandum
with evidence and argument at the sentencing hearing.

                                           Factual Background

      On October 3, 2019, at approximately 11:28 a.m., Baltimore City Police Department
(“BPD”) officers observed the Defendant emerge from an alley and walk southbound in the 4100
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block of Elkador Avenue in Baltimore, Maryland. BPD officers knew this was a high-crime area
marked by drug trafficking and firearm related offenses. The Defendant was wearing a black
satchel across his shoulder in front of his left arm. The satchel appeared heavily weighted. Once
the Defendant saw the officers, he attempted to shield the satchel by walking with a stiff left arm
that disrupted a natural stride. The Defendant kept his left arm over the satchel, very tight to his
body. The officers drove their vehicle next to the Defendant and asked him if he had a firearm in
his bag. The Defendant replied “no” and pulled containers of vape oil out of his bag and showed
them to the officers. As the Defendant was doing so, he held the bottom of the satchel, which still
appeared heavily weighted. As the Defendant held the satchel, BPD officers observed the imprint
of a handgun at the bottom the bag.

        The officers stepped out the car and approached the Defendant. One of the officers grabbed
the bottom of the satchel where he had seen the imprint of a firearm and felt the barrel of a gun.
The officers opened the satchel and recovered a stolen, KAHR CW.45 caliber handgun, bearing
serial number SD7206. It was loaded with seven rounds of .45 caliber Winchester FMJ cartridges
in the magazine and one round in the chamber. The satchel also contained another small black
bag with an additional six rounds of .45 caliber Winchester FMJ cartridges. The firearm and
ammunition meet the federal definition of firearm and ammunition, respectfully, and were
manufactured outside the state of Maryland. The satchel also contained a clear plastic bag with
66 red top vials of cocaine, with a gross weight of approximately 65 grams. The packaging and
quantity of these narcotics are consistent with drug trafficking. Prior to possessing the firearm on
October 3, 2019, the Defendant had been convicted of a crime punishable by imprisonment for a
term exceeding one year, and his civil rights had not been restored.

                                      Sentencing Procedure

       In Gall v. United States, 552 U.S. 38 (2007), the Supreme Court set forth a multi-step
process for imposing sentence in a criminal case. Id. at 51–52. A sentencing court should begin
by correctly calculating the applicable guidelines range. Id. at 49. After providing the parties with
an opportunity to present argument, the district court should then consider the factors set forth in
18 U.S.C. § 3553(a). Id. at 49–50; United States v. Diosdado-Star, 630 F.3d 359, 363 (4th Cir.
2011).

                   Sentencing Guidelines and Criminal History Calculation

       The Government agrees with the criminal history calculation set forth in the April 14, 2020
Pre-Plea Criminal History Report. Thus, the Defendant’s criminal history is a category V.

        In the plea letter dated July 2, 2020, the parties agreed to the following calculations with
regard to the Sentencing Guidelines:

           •   The base offense level is 20 because the Defendant committed the instant offense
               subsequent to sustaining one felony conviction for a crime of violence or controlled
               substance offense. U.S.S.G. § 2K2.1(a)(4)(A).


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           •   The offense level is increased by 4 levels because the Defendant possessed the
               firearm in connection with another felony offense, to wit,: possession with intent to
               distribute controlled dangerous substances. U.S.S.G. § 2K2.1(b)(6)(B).
           •   The offense level is increased by 2 levels because the firearm possessed by the
               defendant was stolen. U.S.S.G. § 2K2.1(b)(4)(A).
           •   The offense level is decreased by 3 because of the Defendant’s acceptance of
               responsibility. U.S.S.G. § 3E1.1(a)-(b).
           •   Total Adjusted Offense Level: 23

       Accordingly, with a total adjusted offense level of 23 and a criminal history category of V,
the advisory sentencing guidelines range is 84-105 months. To be clear, the agreed upon sentence
is 18 months below the lowest end of the advisory sentencing guidelines.

 The Court Should Not Rule on Whether the Stolen Firearm Enhancement Should Be Applied,
      But, to the Extent the Court So Chooses, it Should Find the Enhancement Applies

       The Defendant argues that the 2-level enhancement for possession of a stolen firearm
should not be applied in this case because there is no evidence that the Defendant stole the firearm
or knew the firearm was stolen. See ECF No. 43, at 3-4. As a threshold matter, the Court should
determine that a ruling on this issue is unnecessary. Pursuant to the Federal Rules of Criminal
Procedure, the Court, at sentencing:

       [M]ust—for any disputed portion of the presentence report or other controverted
       matter—rule on the dispute or determine that a ruling is unnecessary either because
       the matter will not affect sentencing, or because the court will not consider the
       matter in sentencing.

Fed. R. Crim. P. 32(i)(3)(B) (emphasis added). Resolution of whether the 2-level enhancement
should be applied will not affect sentencing. The Defendant does not seek a sentence below the
66-month term of imprisonment to which the parties’ agreed. He merely requests a finding that
the stolen firearm enhancement does not apply; that his base offense level is 21, as opposed to 23;
and that his guidelines range is 70-87 months, as opposed to 85-105 months. This argument is,
therefore, merely academic, as such a finding would have no bearing on the Defendant’s sentence.

        Regardless, U.S.S.G. § 2K2.1(b)(4)(A) should be applied in this case. As the Defendant
noted in his sentencing memorandum, the application notes to U.S.S.G. § 2K2.1(b)(4)(A)
explicitly state that the enhancement applies “regardless of whether the defendant knew or had
reason to believe that the firearm was stolen.” Id. § 2k2.1 cmt. N.8(B). Importantly, “every circuit
to consider a challenge to the Stolen Gun enhancement where the defendant had no knowledge
that the firearm was stolen has upheld it.” See United States v. Faison, No. GJH-19-27, 2020 WL
815699, at *7 (D. Md. Feb. 18, 2020) (collecting cases). Policy does not dictate a different result
here. While Judge Hazel declined to apply the 2-level enhancement in Faison, his decision to do
so deviates from numerous courts before him and should not be extrapolated to the case at bar, the
facts of which are vastly different. In Faison, the defendant, after having been involved in a road-
rage incident, went back to his house to retrieve weapons to protect himself from the individual

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involved in the incident. Id. at *2. He was later pulled over while driving his vehicle, at which
time police officers discovered the firearms in his car. Id.

       Here, the Defendant made the conscious decision to carry a stolen firearm in broad daylight
on the streets of Baltimore in a satchel with 66 vials of cocaine. As the Fourth Circuit noted in
United States v. Taylor, “the stolen firearm enhancement serves an important purpose.” 659 F.3d
339, 343 (4th Cir. 2011). The Sentencing Commission consciously chose to promulgate this
guideline because stolen firearms “are used disproportionally in the commission of crime” and
should, therefore, be treated more severely. Id.; see also United States v. Ellsworth, 456 F.3d
1146, 1150 (9th Cir. 2006) (noting that a felon in possession of a stolen firearm is more culpable
than one who acquires a gun legally because stolen weapons are more frequently used to commit
crimes). The Taylor Court, in upholding the application of the stolen firearm enhancement against
a defendant who had been convicted of violation 18 U.S.C. § 922(g), explained:

        If [the defendant was] actually concerned about the risk of acquiring a stolen
        weapon, there was a readily available solution: he could have simply obeyed the
        law. When he decided not to do so, he assumed the attendant risks of criminal
        conduct, including the possibility that he newly-acquired firearm might be stolen.

659 F.3d at 343. The same logic applies here. The Defendant chose to possess a firearm. In doing
so, he assumed the risk that the firearm would be stolen. It does not matter whether he was unaware
that the firearm was stolen, or whether he stole the firearm himself. Therefore, should the Court
choose to resolve this issue, the Court should find that the stolen firearm enhancement applies.

                             Factors Set Forth in 18 U.S.C. § 3553(a)

        The factors set forth in Title 18, United States Code, Section 3553(a) include: (1) the nature
and circumstances of the offenses; (2) the history and characteristics of the Defendant; (3) the need
for the sentence to reflect the seriousness of the offense, to promote respect for the law, and to
provide just punishment for the offense; (4) the need for the sentence to afford adequate deterrence
to criminal conduct; (5) the need for the sentence to protect the public from further crimes of the
Defendant; (6) the need to provide the Defendant with educational and vocational training, medical
care, or other correctional treatment in the most effective manner; (7) the kinds of sentences
available; (8) the need to provide restitution to victims; and (9) the need to avoid unwarranted
sentencing disparity among Defendants involved in similar conduct who have similar records. 18
U.S.C. § 3553(a).

        The Government submits that a sentence of 66 months of imprisonment, which is
significantly below the advisory guidelines range under the calculation recommended by the
parties, is sufficient, but not greater than necessary, to accomplish the goals of the Sentencing
Reform Act. In recommending this sentence, the Government acknowledges and recognizes the
Defendant’s early acceptance of responsibility, criminal history, and other personal characteristics.
The Government does not believe, however, that a sentence lower than 66 months’ imprisonment
would be sufficient or appropriate in this case, particularly in light of several of the relevant Section
3553(a) factors that are discussed below.

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                        Nature and Circumstances of the Offense (3553)(a)(1))

        The Defendant possessed a stolen firearm and approximately 65 grams of cocaine,
packaged in 66 individual vials. The seriousness of this conduct cannot be minimized. Baltimore
City is plagued by gun violence. In 2019, when the defendant committed the instant offense, 309
of the 348 homicides resulted from gunfire. 1 Unlawful possession of a firearm not only threatens
public safety, but also perpetuates a cycle of violence that has led to the death or serious bodily
injury of thousands of Baltimore residents. The drug trafficking trade is no different. Narcotics
beget violence. The two are unequivocally and dangerously linked. See United States v. Carter,
750 F.3d 462, 470 (4th Cir. 2014) (discussing link between drugs and violence). And, the fact that
the Defendant had both a stolen firearm and 66 grams of cocaine while walking down the street in
broad daylight demonstrates his blatant disregard for the safety of those around him and the rule
of law.

       Such criminal conduct requires a significant period of incarceration that reflects the
seriousness of the offense, and a 66 month sentence accomplishes that objective.

                       History and Characteristics of the Offender (3553(a)(1))

        The Defendant’s criminal history is a category V. He has, among others, one prior
conviction for CDS distribution and two prior convictions for felon in possession of a firearm. The
latest of the two firearms offenses, which was federally prosecuted, occurred in 2013 and resulted
in a sentence of 57 months. Despite these prior convictions, the Defendant has continued to engage
in criminal activity. He is a recidivist drug dealer and possessor of firearms. Nonetheless, the
Defendant is closely involved with his family, including his six children, who reside in Baltimore
City. See ECF No. 43. And, he has remained in regular contact with them throughout his
incarceration. Id.

        A sentence of 66 months is therefore necessary to address the Defendant’s repeated and
clearly undeterred criminal conduct, but also appropriate in light of the mitigating factors discussed
above.

    The Need for the Sentence to Reflect the Seriousness of the Offense, to Promote Respect for the
     Law, to Provide Just Punishment for the Offense, to Afford Adequate Deterrence to Criminal
        Conduct and to Protect the Public from Further Crimes of the Defendant (3553(a)(2))

        In crafting the Defendant’s sentence, the Court should take into account the seriousness of
the Defendant’s conduct and the need to promote respect for the law. As set forth in the Factual
Background, the Defendant unlawfully possessed a firearm for the third time in his adult life, and
illegally possessed controlled dangerous substances for at least the second time in his adult life.
None of the actions underlying the Defendant’s crimes are the result of accident or mistake. The
Defendant made a conscious decision to, once again, illegally possess a firearm and narcotics,
putting the safety of the public at risk. A sentence that reflects the seriousness of this crime and
the Defendant’s propensity to recidivate is important not only for specific deterrence, but also for

1
 Baltimore Sun, Baltimore Homicides, https://homicides.news.baltimoresun.com/?range=2019&cause=all (last
visited July 31, 2020).
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general deterrence. A sentence of 66 months will send a message to the community that unlawfully
possessing a firearm and narcotics will not be tolerated and will, in fact, result in federal
prosecution and lengthy sentences in the Bureau of Prisons that will not be suspended.

      Therefore, the Government recommends a sentence of 66 months’ imprisonment for the
Defendant.

                                            Conclusion

        Based on the foregoing, the United States respectfully recommends a sentence of 66
months’ imprisonment, which would be sufficient but not greater than necessary to comply with
the section 3553(a) factors this Court must consider. I thank the Court for its consideration of this
matter.


                                                      Respectfully Submitted,

                                                      Robert K. Hur
                                                      United States Attorney


                                                      __Zachary B. Stendig_________
                                                      Zachary B. Stendig
                                                      Assistant United States Attorney
                                                      Lindsay DeFrancesco
                                                      Special Assistant United States Attorney


cc:    Counsel via ECF




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